 Case 1:22-cv-01479-DG-SJB Document 1 Filed 03/17/22 Page 1 of 9 PageID #: 3




                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF NEW YORK


 KATHY DREW KING, Regional Director
 of Region 29 of the National Labor Relations
 Board, for and on behalf of the NATIONAL
 LABOR RELATIONS BOARD

                            Petitioner                         PETITION FOR TEMPORARY
                                                               INJUNCTION UNDER SECTION
 v.                                                            10(J) OF THE NATIONAL
                                                               LABOR RELATIONS ACT
 AMAZON.COM SERVICES LLC
                                                               22--CV--
                            Respondent



  To the Honorable Judges of the United States District Court for the Eastern District of New

York:

        Comes now Kathy Drew King, Regional Director for Region 29 of the National Labor

Relations Board (the Board), and petitions this Court for and on behalf of the Board, pursuant to

Section 10(j) of the National Labor Relations Act, as amended (the Act), (29 U.S.C. § 160(j)), for

appropriate injunctive relief pending the disposition of the matters involved herein before the

Board on the Complaint and Notice of Hearing of the General Counsel of the Board in Case No.

29-CA-261755, alleging that Amazon.com Services LLC (Respondent) has engaged in unfair labor

practices in violation of Section 8(a)(1) of the Act (29 U.S.C. §158(a)(1)).

        In support of her Petition, Petitioner respectfully shows as follows:

        1.     Petitioner, the Regional Director of Region 29 of the Board, an agency of the United

States Government, files this petition for and on behalf of the Board.

        2.     Jurisdiction of this Court is invoked pursuant to Section 10(j) of the Act. (29 U.S.C.

§ 160(j)).

                                                 1
 Case 1:22-cv-01479-DG-SJB Document 1 Filed 03/17/22 Page 2 of 9 PageID #: 4




       3.      On June 17, 2020, the Charging Party, Gerald Bryson (Bryson) filed an unfair labor

practice charge with the Board in Case No. 29-CA-261755, alleging that Respondent suspended

and subsequently discharged Bryson in violation of Section 8(a)(1) of the Act. A copy of the

charge and corresponding affidavit of service is attached as Exhibit A.

       4.      On December 22, 2020, Petitioner issued a Complaint and Notice of Hearing (the

Complaint) in Case No. 29-CA-261755, alleging that Respondent engaged in unfair labor practices

within the meaning of Section 8(a)(1) of the Act. A copy of the Complaint and corresponding

affidavit of service is attached as Exhibit B.

       5.      (a)     A trial on the allegations contained in the Complaint in Case No. 29-CA-

261755 was held before Administrative Law Judge Benjamin Green on various dates beginning

March 29, 2021, and including May 4-5, May 10-11, May 13-14, May 17 and May 24-27, 2021,

on which dates witness testimony on the merits was taken.

               (b)     On March 29, 2021, the Administrative Law Judge granted the General

Counsel of the Board, by Petitioner’s, oral motion to amend the Complaint.

       6.      There is reasonable cause to believe that the allegations set forth in the Complaint

in Case No. 29-CA-261755, as amended, are true and that Respondent engaged in the unfair labor

practices affecting commerce within the meaning of Section 8(a)(1) of the Act, as alleged therein.

Specifically, there is reasonable cause to believe that Respondent suspended, discharged, and has

been failing and refusing to reinstate Bryson, or offering to reinstate Bryson to his former position

of employment in violation of Section 8(a)(1) of the Act. As such, Respondent is currently and

actively depriving an employee of his rights guaranteed in Section 7 of the Act, such that injunctive

relief is necessary. In support of this request for relief, Petitioner will show as follows:




                                                  2
 Case 1:22-cv-01479-DG-SJB Document 1 Filed 03/17/22 Page 3 of 9 PageID #: 5




               (a)    At all material times, Respondent, a Delaware limited liability company

with a Fulfillment Center in Staten Island, New York (JFK8 Facility) has been engaged in

providing online retail sales throughout the United States.

               (b)    During the past twelve-month period, which period is representative of its

operations in general, Respondent, in conducting its business operations described above in

subparagraph 5(a), derived gross revenues in excess of $500,000 and purchased and received at its

JFK8 Facility goods valued in excess of $5,000 directly from points outside the State of New York.

               (c)    At all material times, Respondent has been an employment engaged in

commerce within the meaning of Sections 2(2), (6), and (7) of the Act.

               (d)    At all material times, Tyler Grabowski held the position of Respondent’s

Human Resources Business Partner and has been a supervisor of Respondent within the meaning

of Section 2(11) of the Act and an agent of Respondent within the meaning of Section 2(13) of the

Act.

               (e)    On or about March 25, 2020, during Respondent’s morning managers

meeting, Bryson engaged in protected concerted activity by advocating, with his coworkers, for

workplace health and safety protections in light of the COVID-19 pandemic and by protesting with

his coworkers Respondent’s failure to provide greater COVID-19 safety protections to employees.

               (f)    On or about March 30, 2020, during a demonstration at the JFK8 Facility,

Bryson engaged in protected concerted activity by protesting with his coworkers Respondent’s

failure to provide greater COVID-19 safety protections to employees.

               (g)    On or about April 6, 2020, during a demonstration at the JFK8 Facility,

Bryson engaged in protected concerted activity by protesting with coworkers Respondent’s failure

to provide greater COVID-19 safety protections to employees.



                                                 3
 Case 1:22-cv-01479-DG-SJB Document 1 Filed 03/17/22 Page 4 of 9 PageID #: 6




                 (h)   On or about April 10, 2020, Respondent suspended Bryson.

                 (i)   On or about April 17, 2020, Respondent discharged Bryson.

                 (j)   Since on or about April 10, 2020, Respondent has failed and refused to

reinstate, or offer to reinstate, Bryson to his former position of employment.

                 (k)   Respondent engaged in the conduct described above in paragraphs 6(h), 6

(i), and 6(j) because Bryson engaged in the conduct described above in paragraphs 6(e), 6(f), and

6(g), and to discourage employees from engaging in these or other concerted activities.

                 (l)   By the conduct described above in paragraphs 6(h), 6(i), and 6(j),

Respondent has been interfering with, restraining and coercing employees in the exercise of rights

guaranteed in Section 7 of the Act in violation of Section 8(a)(1) of the Act.

                 (m)   The unfair labor practices of Respondent, described above, affect commerce

within the meaning of Sections 2(6) and (7) of the Act.

       7.        (a)   At the employee demonstration on March 30, 2020, Bryson became the

public face of the organizing movement for improved COVID-19 health and safety practices at the

JFK8 Facility.

                 (b)   In the time since Bryson’s termination in April 2020, Respondent’s

employees have formed a union, the Amazon Labor Union (Union), and certain employees,

including Bryson, engaged in protected union organizing activity among Respondent’s employees.

                 (c)   On October 25, 2021, the Union filed with Region 29 of the Board a petition

for a representation election in Case No. 29-RC-285057 to determine whether employees at

Respondent’s four Staten Island, New York facilities wished to be represented by the Union for

the purposes of collective bargaining. The Union withdrew this petition on November 12, 2021,

because it did not have a sufficient showing of interest to support the processing of the petition. A



                                                 4
 Case 1:22-cv-01479-DG-SJB Document 1 Filed 03/17/22 Page 5 of 9 PageID #: 7




copy of the petition in in Case No. 29-RC-285057 and the Order Approving Withdrawal of the

Petition Without Prejudice is attached as Exhibit C.

               (d)     On December 22, 2021, the Union filed with Region 29 of the Board a

second petition in Case No. 29-RC-288020 for a representation election to determine whether

employees at a single Respondent facility in Staten Island, known as JFK8, wished to be

represented by the Union. Pursuant to a stipulated election agreement entered between the Parties

in Case No. 29-RC-288020 and approved by the undersigned Regional Director, an election is

scheduled to be conducted by the Board on March 25 and 26 and March 28 through 30, 2022. A

copy of the petition in Case No. 29-RC-288020 and the approved stipulated election agreement

are attached as Exhibit D.

       8.      Upon information and belief, unless the aforesaid flagrant unfair labor practices are

immediately enjoined, Respondent’s serious flouting of the Act will continue unchecked, with the

result that enforcement of important provisions of the Act and of public policy will be thwarted

before Respondent can be placed under legal restraint through the regular procedures of the Board.

Unless the injunctive relief is granted, it may be fairly anticipated Respondent will continue its

unlawful conduct during the proceedings before the Board by continuing to unlawfully refuse to

reinstate Bryson to his former position. Consequently, Respondent’s employees will inevitably

conclude that the Board cannot effectively protect their rights under Section 7 of the Act to engage

in protected concerted activities with coworkers to improve their terms and conditions of

employment, to form, join or assist labor organizations, to bargain collectively through

representatives of their own choosing, or to refrain from any and all such activities, gravely

undermining the Board’s remedial power. It may be further fairly anticipated that by the time a




                                                 5
 Case 1:22-cv-01479-DG-SJB Document 1 Filed 03/17/22 Page 6 of 9 PageID #: 8




Board Order can be obtained against Respondent, it will not be possible to restore the status quo

that existed before Respondent’s unfair labor practices.

          9.     Upon information and belief, to avoid the serious consequences set forth above in

paragraph 8, it is just, proper and appropriate for purposes of effectuating the policies of the Act,

to avoid substantial irreparable and immediate harm to the national policy protecting workers’

right to band together, and to avoid irreparable harm to the rights of Respondent’s employees and

to the public interest, in accordance with the purposes of 10(j) of the Act that Respondent be

enjoined and restrained pending final disposition of the matters herein before the Board, as herein

prayed.

          10.    No previous application has been made for the relief requested herein.

          WHEREFORE, Petitioner prays:

That the Court issue an Order directing Respondent to appear before this Court, at a time and place

fixed by the Court, and to show case, if any, why a temporary injunction should not issue enjoining

and restraining Respondent, their officers, agents, representatives, employees, attorneys,

successors, and assigns, and all persons acting in concert or participation with them, pending the

final disposition of the matters Board, as follows:

          1.     Cease and desist from:

                         (a)      Discharging employees because they engaged in protected

          concerted activity;

                         (b)      Suspending employees because they engaged in protected

          concerted activities;




                                                  6
Case 1:22-cv-01479-DG-SJB Document 1 Filed 03/17/22 Page 7 of 9 PageID #: 9




                    (c)      In any like or related manner interfering with, restraining, or

    coercing employees in the exercise of the rights guaranteed them by Section 7 of

    the Act.

    2.     Take the following affirmative action designed to effectuate the polices of the Act:

                    (a)      Within five (5) days from the date of the District Court’s

    Order, offer, in writing, Gerald Bryson immediate reinstatement to his former

    position, or, if his position no longer exists, to a substantially equivalent position

    without prejudice to his seniority or any other rights and privileges previously

    enjoyed, and displacing, if necessary, any employee who has been hired or

    reassigned to replace him;

                    (b)      Immediately rescind the unlawful suspension and discharge

    issued to Gerald Bryson, expunge these adverse employment actions from his

    employment records, and refrain from relying on the suspension and discharge in

    assessing any future disciplinary actions;

                    (c)      Within seven (7) days from the date of the District Court’s

    Order, the Employer shall:

                  i.      Post a physical copy of the District Court’s Order, including a

                          Spanish-language version, the translation of which is to be paid

                          for by the Employer and approved by the Regional Director of

                          Region 29, in all breakrooms, bathrooms, and bathroom stalls at

                          the Employer’s JFK8 Facility, along the “Green Mile” corridor

                          located at the Employer’s JFK8 Facility, and in all other places

                          where the Employer typically posts notices to its employees at



                                                7
Case 1:22-cv-01479-DG-SJB Document 1 Filed 03/17/22 Page 8 of 9 PageID #: 10




                      the JFK8 Facility; and, grant to agents of the Board reasonable

                      access to its worksites to monitor compliance with this posting

                      requirement;

               ii.    Distribute electronic copies, in English and Spanish, of the

                      District Court’s injunctive Order to all employees employed at

                      the Employer’s JFK8 Facility via the “Amazon A to Z” website

                      and web application, the “Voice of Associates Board” displayed

                      at the JFK8 Facility, Amazon Hub, and all other intranet or

                      internet sites or apps that the Employer uses to communicate

                      with employees; and

               iii.   (A) Hold one or more mandatory employee meetings, on

                      working time and at times when the Employer customarily holds

                      employee meetings, and scheduled to ensure the widest possible

                      employee attendance, albeit with proper physical distancing

                      measures due to the COVID-19 pandemic, at which the Order

                      will be read to hourly employees by a responsible Employer

                      official in the presence of a Board agent or, at the Employer’s

                      option, by a Board agent in the presence of a responsible

                      Employer official; at the Region’s option, the Board agent’s

                      presence may be by video conference; (B) announce the

                      meeting(s) for the Order reading in the same manner the

                      Employer would customarily announce a meeting of employees;




                                            8
Case 1:22-cv-01479-DG-SJB Document 1 Filed 03/17/22 Page 9 of 9 PageID #: 11




                          and (C) require that all hourly employees attend the meeting(s).

                          The Order shall be read in both English and Spanish.



                    (d)      Within twenty (20) days of the issuance of this Order, file

     with the District Court and serve a copy upon the Regional Director of Region 29

     of the Board, a sworn affidavit from a responsible Respondent official that

     describes with specificity how Respondent has complied with the terms of this

     decree, including the exact locations where Respondent has posted the materials

     required under this Order.




     Dated on March 17, 2022.




                                            ___________________________
                                            Kathy Drew King
                                            Regional Director, Region 29
                                            National Labor Relations Board
                                            Two MetroTech Center, Suite 5100
                                            Brooklyn, New York 11201




                                                9
